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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Jose L. Parra
                                     Plaintiff,
v.                                                     Case No.: 1:18−cv−05936
                                                       Honorable Edmond E. Chang
Ocwen Loan Servicing LLC
                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, February 27, 2019:


        MINUTE entry before the Honorable Edmond E. Chang: The Burkes' motion [29]
to intervene is denied for two independent reasons. First, the brief exceeds the 15−page
limit on briefs, see Local Rule 7.1, without permission. Second, the motion does not
actually explain how either Federal Rule of Civil Procedure 24(a) or 24(b) are met. In
light of the fully briefed motion [15] to dismiss, the status hearing of 02/28/2019 is reset
to 04/23/2019 at 9:30 AM.Emailed notice(slb, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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